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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


  BRISTOL MYERS SQUIBB CO.,

                     Plaintiff,

           v.                             Civil Action No. 23-cv-03335-ZNQ

  XAVIER BECERRA, U.S. Secretary
  of Health and Human Services, et al.,

                     Defendants.


  JANSSEN PHARMACEUTICALS,
  INC.,

                     Plaintiff,

           v.                             Civil Action No. 23-cv-03818-ZNQ

  XAVIER BECERRA, U.S. Secretary
  of Health and Human Services, et al.,

                     Defendants.



                REPLY BRIEF IN SUPPORT OF DEFENDANTS’
                CROSS-MOTION FOR SUMMARY JUDGMENT
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                                  INTRODUCTION
       Plaintiffs caricature the Drug Price Negotiation Program established in the In-

 flation Reduction Act (IRA), 42 U.S.C. §§ 1320f et seq., as “unilateral[]” “government
 price-setting.” Janssen Pharms., Inc. v. Becerra, Case No. 3:23-cv-3818, Pl.’s Combined
 Resp. & Reply Br., ECF No. 71 at 1 (Janssen Resp.). Even if Congress had enacted

 such a law, it would have trampled no constitutional principle. After all, prescription
 drugs have “long been the source of public concern and the subject of government
 regulation.” Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1007 (1984). And the Supreme
 Court has made clear that Congress can impose various “condition[s]” on manufactur-
 ers of such “dangerous chemicals,” who have no inherent right to sell those drugs at
 all. Horne v. Dep’t of Agric., 576 U.S. 350, 365-66 (2015) (discussing Monsanto Co., 467

 U.S. at 1007). But the Court ultimately need not wade into that thicket.
       In enacting the Negotiation Program, Congress did nothing more than set terms
 on which Medicare will do business with willing participants. Congress has long set
 similar terms for other federal health care programs administered by the Department
 of Defense and the Department of Veterans Affairs. See, e.g., 38 U.S.C. § 8126(a)-(h).
 And it has clear authority to do so.
       As another district court correctly recognized, Congress’s authorization for the
 Secretary to negotiate how much Medicare pays for drugs “cannot be considered a con-
 stitutional violation” because drug manufacturers “are not legally compelled to partici-

 pate in the [Negotiation] Program—or in Medicare generally.” Dayton Area Chamber of
 Com. v. Becerra, No. 3:23-cv-156, --- F. Supp. 3d ---, 2023 WL 6378423, at *11 (S.D.
 Ohio Sept. 29, 2023) (Chamber). “[P]harmaceutical manufacturers who do not wish to”

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 make their drugs available at negotiated prices can “opt out” by, for example, withdraw-
 ing from the Medicare and Medicaid programs or divesting their interests in the drugs

 subject to negotiation before 2026, when the negotiated prices would first take effect.
 Id. This basic fact, as Defendants explained in their opening brief, disposes of Plaintiffs’
 constitutional challenges. See Bristol Myers Squibb Co. v. Becerra, Case No. 3:23-cv-3335,
 Defs.’ Mot. Sum. J. Br., ECF No. 38-1 at 11-15 (Defs.’ MSJ Br.). While Plaintiffs may
 be dissatisfied with the conditions that Congress attached to future Medicare spending,
 acceptance of those conditions and “participation in Medicare, no matter how vital it

 may be to a business model, is a completely voluntary choice.” Chamber, 2023 WL
 6378423, at *11.
        Seeking to dispute this result, Plaintiffs argue that the Negotiation Program
 should not be seen as a proper condition because it impermissibly forces them to
 choose between either negotiating the price of selected drugs or forgoing all Medicare
 and Medicaid funding—which Plaintiffs claim they cannot afford to lose. Bristol Myers
 Squibb Co. v. Becerra, Case No. 3:23-cv-3335, Pl.’s Combined Resp. & Reply Br., ECF
 No. 80 at 12-13 (BMS Resp.); Janssen Resp. at 7-10. But Plaintiffs’ argument is prem-
 ised on cases analyzing government demands for property in the context of regulatory
 regimes. By contrast, entities “that wish to participate in Medicare and Medicaid have
 always been obligated to satisfy a host of conditions” that are packaged together as part
 of one offer, without being able to pick and choose individual conditions they wish to
 accept or reject. Biden v. Missouri, 595 U.S. 87, 94 (2022). Contrary to Plaintiffs’ sug-
 gestion, presenting such offers is well within Congress’s prerogative to ensure that fed-
 eral funds are spent according to its view of the “general Welfare.” U.S. Const., art. I,

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 § 8, cl. 1. And Plaintiffs’ attempts to evade this established framework not only misread
 the underlying legal authorities but also would—by Plaintiffs’ own admission—rewrite

 decades of established law about Congress’s spending powers. Plaintiffs do not come
 close to justifying this extraordinary result. Drug manufacturers may choose whether
 they wish to participate in Medicare—but they do not have a constitutional right to
 unilaterally dictate how much the government spends on their drugs.
       Plaintiffs’ constitutional arguments fail in other respects, too. As Defendants
 explained in their opening brief, Plaintiffs’ primary legal theory—that the Negotiation

 Program effects a physical taking of their property—is irreconcilable with the text and
 structure of the IRA. See Defs.’ MSJ Br. at 25-30. Notwithstanding Plaintiffs’ efforts
 to read between the lines of the statute in search of hidden meanings, Congress did not
 require manufacturers to relinquish any drugs they do not wish to sell. Absent such a
 requirement, Plaintiffs’ physical-taking theory—the only taking theory they posit—has
 no foothold.
       Similar errors infect Plaintiffs’ First Amendment challenge. Plaintiffs continue
 to insist that the Negotiation Program will force them to sign agreements with the Cen-
 ters for Medicare & Medicaid Services (CMS) in which they must adopt the govern-
 ment’s message. BMS Resp. at 34; Janssen Resp. at 28-29. But that assertion is belied
 by the plain language and purpose of the actual agreements, which Plaintiffs have now
 signed. Even a cursory review of those agreements reveals that they are purely com-
 mercial instruments, which pertain solely to the manufacturers’ conduct and do not
 require them to express or adopt any viewpoint at all. Plaintiffs are free to believe—
 and to say—whatever they want about these arrangements and about the Negotiation

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 Program generally. But Plaintiffs’ unsupported views that the agreements are expres-
 sive does not give rise to a First Amendment claim.

       In enacting the IRA, Congress followed decades of precedent establishing the
 kinds of conditions that can be attached to the government’s Spending Clause pro-
 grams. Rather than rewrite this precedent for Plaintiffs’ benefit, this Court should fol-
 low the Chamber decision and recognize that Plaintiffs’ constitutional claims fail “as a
 matter of law.” 2023 WL 6378423, at *11.
                                      ARGUMENT
 I.    THE NEGOTIATION PROGRAM IS NOT A TAKING BECAUSE PARTICIPATION
       IS VOLUNTARY

       As much as the drafters of the IRA may have wanted pharmaceutical manufac-
 turers to negotiate discounts for their high-price drugs, the statute does “not legally
 compel[]” them to do so. Chamber, 2023 WL 6378423, at *11. Both the IRA’s text and
 CMS’s implementing guidance give manufacturers multiple options “to opt out” of the
 Negotiation Program—before, during, or after negotiations. Id.; see also CMS, Medicare
 Drug Price Negotiation Program: Revised Guidance at 34 (June 30, 2023),
 https://perma.cc/K6QB-C3MM (Revised Guidance). That should be the end of Plain-

 tiffs’ takings challenge. See, e.g., Franklin Mem’l Hosp. v. Harvey, 575 F.3d 121, 129 (1st
 Cir. 2009) (“Of course, where a property owner voluntarily participates in a regulated
 program, there can be no unconstitutional taking.”). Because “there is no constitutional

 right (or requirement) to engage in business with the government,” Congress took no
 property when it made the Negotiation Program a condition of manufacturers’ “volun-
 tary” participation in Medicare and Medicaid. Chamber, 2023 WL 6378423, at *11.



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        Attempting to resist this result, Plaintiffs press a series of old and new objections
 to the choices Congress put before them. But their request to rewrite Congress’s bar-

 gain profoundly misunderstands the underlying authorities. And, as Plaintiffs them-
 selves essentially acknowledge, their legal theory is inconsistent with decades of well-
 settled precedent about how the government can structure its funding programs. Ac-
 cepting Plaintiffs’ theory would require the Court to undertake an unjustified and radical
 rewriting of Spending Clause law.

        A.     The Negotiation Program is a Proper Condition on Voluntary
               Participation in Federal Healthcare Programs
               1.     Plaintiffs Incorrectly Analyze the Negotiation Program as If It Were a
                      Regulatory Condition
        As a starting point, Plaintiffs seek to undermine the voluntariness of the Nego-
 tiation Program by analogizing to cases analyzing government demands for property in
 the context of regulatory regimes. BMS Resp. at 9-12; Janssen Resp. at 7-10. Plaintiffs
 interpret these cases to suggest that participation in the Negotiation Program could only
 be voluntary if it came “in exchange” for an appropriate “benefit”—something Plain-
 tiffs insist is absent here because the benefit (Medicare coverage) is something they
  already enjoy. Janssen Resp. at 9-10; see also BMS Resp. at 12-13. But Plaintiffs fail to
  grasp the difference between regulatory and spending programs, and fail to appreciate
  that conditions Congress attaches to the latter are subject to a fundamentally different
  form of constitutional review.

        The defining feature of all the cases on which Plaintiffs rely is that they analyzed
  conditions that the government imposed as part of an obligatory legal framework—
  which parties could not readily avoid or exit. See generally BMS Resp. at 9-12; Janssen

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 Resp. at 7-10. Thus, in Monsanto, manufacturers had no choice but to surrender their
 proprietary data if they wished to sell their pesticides to private customers under an

 environmental regulatory regime. Monsanto, 467 U.S. at 1007. The Court saw the sur-
 render of property not as a taking but rather as a voluntary exchange for a license to
 sell chemicals, because that license was not something the government was otherwise
 required to provide. See id. (requirement that “submitter give up its property interest in
  [proprietary] data” is not “an unconstitutional condition on” the license “to market
  pesticides”). In Horne, growers of raisins had to physically surrender a portion of their

  crop to the government as part of an agricultural regulatory program if they wished to
  grow and sell raisins on open markets—but the Court concluded that this requirement
  was a taking rather than an exchange for a governmental benefit because sales of raisins
  were not otherwise barred. Horne, 576 U.S. at 366 (explaining that “[s]elling produce in
  interstate commerce, although certainly subject to reasonable government regulation, is
  [] not a special governmental benefit,” in part because “[r]aisins are not dangerous pes-
  ticides”). In both circumstances, the question of whether the demand for property was
  part of an exchange for a non-illusory benefit (and therefore not a taking) only arose
  because the regulated parties could not avoid the government’s property demand with-
  out “ceasing to” sell their product to anyone—which, as the Court observed, “proves
  too much” because doing so would deprive the owners of all economic use of products
  in which they had a “property right[].” Id. at 365 (citation omitted).
        Similar reasoning animated the D.C. Circuit’s recent decision in Valancourt Books,
  LLC v. Garland, 82 F.4th 1222, 1232 (D.C. Cir. 2023)—on which BMS heavily relies.
  See BMS Resp. at 12-14; see also Janssen Resp. at 10. In that case, the D.C. Circuit

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 confronted a takings challenge to a provision of the Copyright Act requiring “the owner
 of the copyright in a work [to] deposit two copies of the work with the Library of

 Congress” or pay a fine. Valancourt, 82 F.4th at 1226. The panel concluded that, under
 the “particular circumstances” before the court, that requirement was mandatory and
 inescapable because it arose automatically upon publication of the work. Within that
 framework, the court considered whether the condition could be justified as part of a
 “voluntary exchange for a governmental benefit,” but concluded that it could not be-
  cause “the purported ‘benefit’ [was] illusory.” Id. at 1232. As the panel explained,

  “copyright owners receive[d] no additional benefit for the works they forfeit[ed]” be-
  cause the “[m]andatory deposit is not required to secure the benefits of copyright.” Id.
  And, absent at least some benefit, the demand constituted a physical taking of plaintiffs’
  books. Id. at 1235. 1
         This reasoning does not apply, however, when Congress acts pursuant to its
 spending powers to set terms on which the government will buy products. Under those
 circumstances, the government is neither restricting entities from engaging in interstate
 commerce nor burdening their ability to sell goods to private buyers. Rather, the con-
 ditions are inherently “voluntary”—and thus cannot compel entities to surrender prop-

 erty—because there is no “right (or requirement)” to conduct business with the


         1
           The same was true in the much older cases on which Janssen relies, Thompson
 v. Deal, 92 F.2d 478 (D.C. Cir. 1937) and Union Pac. Railroad Co. v. Pub. Serv. Comm’n, 248
 U.S. 67, 70 (1918). Like Monsanto and Horne, those cases also involved regimes that
 parties could not readily exit—meaning the parties were involuntarily subject to the
 government’s property demands. See Thompson, 92 F.2d at 480 (statute fixed the quota
 of cotton production); Union Pac., 248 U.S. at 67 (plaintiff subject to statutory prohibi-
 tions against issue of a bond unless the prohibition was waived by a state commission).

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 government in the first instance. 2023 WL 6378423, at *11; see, e.g., Shah v. Azar, 920
 F.3d 987, 998 (5th Cir. 2019) (“[P]articipation in the federal Medicare reimbursement

 program is not a property interest.”). Unlike the raisins in Horne, federal Medicare funds
 are property that “belong[s] to the State” and manufacturers have no right in that prop-
 erty “other than such as the state may permit [them] to acquire.” Horne, 576 U.S. at
 366-67 (discussing Leonard & Leonard v. Earle, 279 U.S. 392, 396 (1929) (quotes omit-
 ted)). “[N]o one has a ‘right’ to sell to the government that which the government does
 not wish to buy.” Coyne-Delany Co. v. Cap. Dev. Bd., 616 F.2d 341, 342 (7th Cir. 1980);

 see also Perkins v. Lukens Steel Co., 310 U.S. 113, 127 (1940) (government has authority to
 “determine those with whom it will deal”); J.H. Rutter Rex Mfg. Co. v. United States, 706
 F.2d 702, 712 (5th Cir. 1983) (rejecting contractor’s claim for “Fifth Amendment prop-
 erty entitlement to participate in the awarding of government contracts”).
        Given this distinction between demands for property as part of a regulatory re-
 gime and conditions that Congress sets for participation in federal spending programs,
  it is not surprising that courts have not employed Plaintiffs’ proposed framework to
  evaluate takings challenges to Medicare or Medicaid conditions. See, e.g., Baker Cnty.
  Med. Servs., Inc. v. U.S. Att’y Gen., 763 F.3d 1274, 1279-80 (11th Cir. 2014) (rejecting
  hospital’s “challenge [to] its rate of compensation in a regulated industry for an obliga-
  tion it voluntarily undertook . . . when it opted into Medicare”); Franklin Mem’l Hosp.,
  575 F.3d at 129-30; Garelick v. Sullivan, 987 F.2d 913, 916-19 (2d Cir. 1993); Burditt v.
  U.S. Dep’t Health & Hum. Servs., 934 F.2d 1362, 1376 (5th Cir. 1991); Whitney v. Heck-
  ler, 780 F.2d 963, 972 (11th Cir. 1986) (“[A]ppellants are not required to treat Medicare
  patients, and the temporary freeze is therefore not a taking within the meaning of the

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 Fifth Amendment.”). Rather, courts have rejected such challenges on the threshold
 ground that “participation in the Medicare program is a voluntary undertaking”—and

 have not further analyzed the propriety of the condition. Livingston Care Ctr., Inc. v.
 United States, 934 F.2d 719, 720 (6th Cir. 1991); see Baptist Hosp. E. v. Sec’y of Health &
 Hum. Servs., 802 F.2d 860, 869-70 (6th Cir. 1986) (same); see also Baker Cnty., 763 F.3d at
 1279-80 (surveying cases); Garelick, 987 F.2d at 917 (same); see generally Chamber, 2023
 WL 6378423, at *11 (discussing this precedent).
        This approach makes sense. “Unlike ordinary legislation, which imposes con-

 gressional policy on regulated parties involuntarily, Spending Clause legislation operates
 based on consent: in return for federal funds, the [recipients] agree to comply with
 federally imposed conditions.” Cummings v. Premier Rehab Keller, PLLC, 596 U.S. 212,
 219 (2022) (internal quotes and citation omitted). “[I]f a party objects to a condition
 on the receipt of federal funding, its recourse is to decline the funds.” Agency for Int’l
 Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. 205, 214 (2013). Accordingly, there is no
 need to consider whether a party obtained a separate benefit to determine that the gov-
 ernment’s conditions are part of a voluntary exchange. Contra Janssen Resp. at 9-10;
 BMS Resp. at 12-13.
        The Negotiation Program, of course, is voluntary in the way that all Medicare
 and Medicaid conditions are—and in a way that the conditions in regulatory programs
 like Horne and the other cases Plaintiffs cite were not. Unlike the plaintiffs in Horne—
  who were required to turn over a portion of their raisin crop to the government or
 forgo all raisin sales to anyone—drug manufacturers’ ability to make commercial sales
 is not conditioned on them complying with the Negotiation Program. To the contrary,

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 manufacturers who are unwilling to participate in the Negotiation Program can con-
 tinue selling their drugs to everyone but the government, and be free of the Negotiation

 Program’s terms. See Chamber, 2023 WL 6378423, at *11; contra Janssen Resp. at 21-23
 (incorrectly arguing that the government is acting as regulator because it imposes legal
 requirements on those who participate in the Negotiation Program). Structuring con-
 ditions in this way raises no Fifth Amendment takings concerns because Plaintiffs “do
 not have a property interest in a particular reimbursement rate” from Medicare. Man-
 aged Pharmacy Care v. Sebelius, 716 F.3d 1235, 1252 (9th Cir. 2013); Painter v. Shalala, 97

 F.3d 1351, 1358 (10th Cir. 1996) (holding that a physician has no property interest in
 “having his [Medicare] reimbursement payments calculated in a specific manner”); contra
 Janssen Resp. at 11 (arguing that manufacturers have a “reliance” interest). Congress
 was thus free to create the Negotiation Program as a condition of future Medicare par-
 ticipation.

               2.    The Negotiation Program Withstands Scrutiny Even Under Plaintiffs’
                     Erroneous Framing
        Setting aside these analytical distinctions, the Negotiation Program would still
 survive scrutiny under Plaintiffs’ proposed framing—even if it were incorrectly ana-
 lyzed as part of a “regulatory regime.” Janssen Resp. at 10-11; BMS Resp. at 13-14.
        1.     As the D.C. Circuit observed in Valancourt, “any forfeiture of property
 might arguably be voluntary” where there is “a simple, seamless, and transparent way

 to opt out of” the regulatory regime in which the demand for property is made. 82
 F.4th at 1235. The problem in Valancourt was that no exit option was “cognizable to
 copyright owners:” “no statute, regulation, or guidance” indicated that plaintiff could


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 relinquish its copyright in lieu of depositing books. Id. at 1235-36. The agency “did
 not suggest at any point that Valancourt could avoid the deposit requirement by simply

 disavowing its copyrights, much less explain how Valancourt could exercise that op-
 tion,” and instead “implied that Valancourt was obligated to deposit regardless of any
 voluntary action it took.” Id. at 1236.
        The opposite is true here. See Chamber, 2023 WL 6378423, at *11. As the Chamber
 court recognized, manufacturers can avoid the Negotiation Program’s requirements by,
 among other things, divesting their interest in the selected drug or withdrawing from

 Medicare and Medicaid by terminating their participation agreements. See id.; see also
 Defs.’ MSJ Br. at 16-18 (detailing the exit options). Doing so is straightforward. A
 manufacturer need only notify CMS of its intent to withdraw from the relevant agree-
 ments “30 days in advance of the date that excise tax liability otherwise may begin to
 accrue.” Revised Guidance at 33-34. 2 This course is clearly described in CMS’s Revised
 Guidance, which relies on the statutory authority in the Social Security Act (SSA). See
 id. at 130 (explaining how CMS intends to exercise its authority); see generally 42 U.S.C.
 §§ 1395w-114a(b)(4)(B)(i), 1395w-114c(b)(4)(B)(i) (providing for “good cause” termi-
 nation). So, unlike the plaintiff in Valancourt, manufacturers have a “cognizable” notice

 of the withdrawal options from a formal “guidance.” 82 F.4th at 1235-36. There is no
  dispute that plaintiffs are well aware of these options. Accordingly, the Negotiation
  Program is voluntary “because pharmaceutical manufacturers who do not wish to




        Alternatively, as Defendants previously noted, a manufacturer can transfer
        2

 ownership of the drug. See Revised Guidance at 131-32.

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 participate in the Program have the ability—practical or not—to opt out of Medicare
 entirely.” Chamber, 2023 WL 6378423, at *11.

        Notably, Plaintiffs still do not contend that they actually wish to exercise any of
 the withdrawal options. Instead, they make a passing objection that those options, as
 specified in the Revised Guidance, were developed “only in the course of litigation”
 and are in tension with the provisions of the SSA. BMS Resp. at 14 (quoting Valancourt,
 82 F.4th at 1237). But the rush of some pharmaceutical manufacturers to challenge the
 IRA even before CMS had finalized its guidance—guidance which those manufacturers

 knew was forthcoming—can hardly be laid at the feet of the agency. See id. And the
 Revised Guidance, which governs how the agency will conduct the program’s first
 round of negotiations, is worlds different from the situation in Valancourt, where “the
 only affirmative indication of a costless abandonment option [was] in the government’s
 statements in th[e] litigation.” Valancourt, 82 F.4th at 1237 (emphasis added).
        Further, contrary to the Plaintiffs’ claims, the options for withdrawal CMS out-
 lined are fully in line with the agency’s statutory authority. See BMS Resp. at 14-15;
 Janssen Resp. at 12. Simply put, it is hard to see how the 30-day exit window that CMS
 provided in the Revised Guidance is inconsistent with the statutory “good cause” stand-
 ard, particularly when Plaintiffs themselves claim that the absence of a speedy exit op-
 tion would raise serious constitutional questions. See, e.g., United States ex rel. Polansky v.
 Exec. Health Res., Inc., 599 U.S. 419, 429 n.2 (2023) (“good cause” is “a uniquely flexible
 and capacious concept, meaning simply a legally sufficient reason” (citation omitted)).
 Plaintiffs notably fail to provide any response on this point, despite Defendants



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 previously articulating it in their opening papers. See BMS Resp. at 14-15; Janssen Resp.
 at 12; see generally Defs.’ MSJ Br. at 17.

        Likewise, Plaintiffs fail to rebut (or even acknowledge) that—even under the ex-
 tended withdrawal timeline that Plaintiffs concede exists absent CMS’s guidance—man-
 ufacturers can still notice their withdrawal from Medicare and Medicaid and have that
 withdrawal take effect before any negotiated prices become operative. See Defs.’ MSJ
 Br. at 16-18. This option fully resolves Plaintiffs’ stated concerns because it is only the
 sale of drugs at negotiated prices—not any other aspect of participation in the Negoti-

 ation Program—that Plaintiffs characterize as a taking. Janssen’s categorical objection
 to any delay in withdrawal is thus inconsistent with its own legal theory. Janssen Resp.
 at 13. And, as Defendants previously noted, it is also inconsistent with Supreme Court
 precedent. Yee v. City of Escondido, 503 U.S. 519, 527-28 (1992) (finding no taking where
 a property owner could choose to leave a price-capped market with “6 or 12 months
 notice”).
        2.     BMS separately argues that withdrawing is not “costless” within the mean-
 ing of Valancourt because doing so would imperil the profits they make on other sales to
 Medicare. BMS Resp. at 13-14. But nothing in Valancourt suggests that the D.C. Circuit
 would consider lost earnings either from the selected drug or other drugs a “cost” of
 withdrawing. See Valancourt, 82 F.4th at 1236-37. The holder of the copyright in Val-
 ancourt would clearly be giving up such future earnings by surrendering the copyright (if
 it could): the entire premise of the copyright system is that there is tremendous value
 in obtaining a copyright. See id. at 1233 (noting that “copyright is not a natural right”
  but rather “a uniquely governmental benefit”). Yet the D.C. Circuit did not discuss the

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 potential loss of such benefits as a “cost” to consider. Rather, the impermissible “cost”
 that the D.C. Circuit identified was the “fee” to “record a notice of abandonment.” Id.

 at 1237. There would have been no need for the court to consider this “fee” if the loss
 of the copyright benefits were itself a relevant “cost” to the challenger. And Plaintiffs
 do not—and cannot—allege that any similar fee exists here.
        Indeed, positing as Plaintiffs do that any withdrawal option must be free of any
 consequence is an untenable reading. Plaintiffs cite no case for the proposition that the
 absence of any financial burden is necessary to make Medicare conditions voluntary for

 purposes of the Fifth Amendment. See BMS Resp. at 13-15. To the contrary, as the
 Chamber court explained, precedent all points the other way. Chamber, 2023 WL
 6378423, at *11 (“[P]articipation in Medicare, no matter how vital it may be to a busi-
  ness model, is a completely voluntary choice.” (discussing cases)); see also Baker Cnty.,
  763 F.3d at 1280 (argument that “opting out of Medicare would amount to a grave
 financial setback” is insufficient for a takings analysis (citing Garelick, 987 F.2d at 917);
 St. Francis Hosp. Ctr. v. Heckler, 714 F.2d 872, 875 (7th Cir. 1983) (“[T]he fact that prac-
 ticalities may in some cases dictate participation does not make participation involun-
 tary.”). And this is true regardless of whether the condition is new to the program in
 which Plaintiffs previously participated. See 42 U.S.C. § 1304 (noting that Congress
 reserves the right to change Medicare terms); contra Janssen Resp. at 10. Where, as here,
 an exit option is available, Plaintiffs’ decision not to pursue it—for whatever reason—

 is itself an indication that, going forward, Plaintiffs consent to the condition imposed.
        Finally, Plaintiffs’ claims to the contrary notwithstanding, it is also worth noting
 that manufacturers do receive “additional benefits” in exchange for their agreement to

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 a negotiated price for their selected drugs. Valancourt, 82 F.4th at 1233. The IRA guar-
 antees that a selected drug will be included in the formulary of all Medicare Part D plans

 if the manufacturer reaches an agreement with CMS as to the maximum fair price for
 that drug. 42 U.S.C. § 1395w-104(b)(3)(I)(i). Plaintiffs may choose to accept this ben-
 efit, or they may choose to depart from the Medicare and Medicaid programs. In either
 instance, the choice is theirs, and the voluntary nature of that choice defeats Plaintiffs’
 takings claim.
                 3.     Plaintiffs’ Alternative Unconstitutional Conditions Arguments Fail

           All of these same reasons likewise defeat Plaintiffs’ related attempts to under-
 mine the Negotiation Program by invoking the test articulated by the Supreme Court
 in Nollan and Dolan, which asks whether an exaction sought by the government is
 “rough[ly] proportiona[l]” to the benefit being sought by a property owner. BMS Resp.
 at 21-22;3 see Dolan v. City of Tigard, 512 U.S. 374, 391 (1994); Nollan v. Cal. Coastal
 Comm’n, 483 U.S. 825, 834-37 (1987); see also 2910 Georgia Ave. LLC v. D.C., 234 F. Supp.
 3d 281, 305 (D.D.C. 2017). Contrary to Plaintiffs’ suggestion, these cases do not set
  forth a general unconstitutional-conditions framework. Rather, the Supreme Court has
  made clear that the Nollan and Dolan test is reserved for the “‘special application’ of . . .

 land-use permits.” Koontz v. St. Johns River Water Mgmt. Dist., 570 U.S. 595, 604 (2013)
 (discussing the doctrine); Lingle v. Chevron U.S.A. Inc., 544 U.S. 528, 538 (2005) (noting

       3
        Although Janssen does not make this argument as explicitly as BMS, it also cites
 Dolan in support of its argument that the Negotiation Program improperly “requires
 Janssen to surrender its First and Fifth Amendment rights ‘in exchange for a discretion-
 ary benefit conferred by the government.’” Janssen Resp. at 36 (citing Dolan, 512 U.S.
 at 385). Though less explicit, the argument is the same.


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 the “special context of land-use exactions”). That is for good reason. The “realities of
 the permitting process” render applicants “especially vulnerable” to the government’s

 demands “because the government often has broad discretion to deny a permit that is
 worth far more than property it would like to take.” Koontz, 570 U.S. at 604-05. Eval-
 uating whether a land-use exaction is “proportional[]” to the governmental benefit thus
 ensures that the condition is part of a voluntary exchange. Id.; see also Cedar Point Nursery
 v. Hassid, 141 S. Ct. 2063, 2079 (2021) (explaining this framework).4
        By contrast, no such proxy tests are necessary or appropriate when Congress
 merely sets the terms on which the government will do business—business to which
 the party has no free-standing entitlement and which it can freely decline. Courts do
 not, for example, superintend government contracts to ensure that they are voluntary
 and provide contractors sufficient compensation or benefit to avoid a Fifth Amend-
 ment taking. See, e.g., St. Christopher Assocs., L.P. v. United States, 511 F.3d 1376, 1385
 (Fed. Cir. 2008) (“In general, takings claims do not arise under a government contract

 because . . . the government is acting in its proprietary rather than its sovereign capac-
 ity” and any right to compensation has “been voluntarily created” (citations omitted)).
 Plaintiffs may be unhappy that Congress created the Negotiation Program as a condi-

 tion of future Medicare and Medicaid participation. See Janssen Resp. at 10, 37. But
 their dissatisfaction does not mean the condition is improper in a constitutional sense.

        4
           Plaintiffs cite Cedar Point, 141 S. Ct. 2063, for the proposition that the Nollan
 and Dolan test is not restricted to “zoning.” BMS Resp. at 21-22. But Cedar Point like-
 wise concerned the physical appropriation of land. See 141 S. Ct. at 2069. Defendants
 remain unaware of any precedent extending that framework beyond the context of re-
 strictions on the use of real property. And Plaintiffs do not contend that the Negotia-
 tion Program burdens the use of land.

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        Congress has made clear that the terms of Medicare and Medicaid can change
 over time and that new conditions may be added. See, e.g., 42 U.S.C. § 1304 (Congress

 reserves the right to change Medicare terms). Manufacturers cannot claim that having
 to decide whether to continue participating in light of that new condition renders the
 program legally involuntary. Contra Janssen Resp. at 10.
        B.     The Negotiation Program is Not “Coercive”
        Plaintiffs fare no better with their attempts to argue that, even in the absence of
 legal compulsion, requiring participation in the Negotiation Program as a condition of
 receiving reimbursement from Medicare and Medicaid is impermissibly “coercive.”
 BMS Resp. at 15-20; see also Janssen Resp. at 17. Plaintiffs base this argument on the
 Supreme Court’s decision in National Federation of Independent Business v. Sebelius, 567 U.S.
 519 (2012) (NFIB). 5 But Plaintiffs’ arguments on this ground fail to correct the legal
 errors Defendants previously identified—and place NFIB so far outside its context that
 it would radically rework federal spending law.
        1.     In an effort to show that NFIB applies, Plaintiffs first contend that the
 decision provides a general framework for analyzing any Spending Clause condition, not
 just conditions that the government attaches on grants it offers to states. BMS Resp.

 at 17-18. But that is demonstrably wrong. Federalism was the animating concern of
 the NFIB “coercion” inquiry. NFIB, 567 U.S. at 577 (plurality opinion) (explaining the

        5
           Janssen also claims that older cases “applied the same [] principle.” Janssen
 Resp. at 17-18 (citing Union Pacific, 248 U.S. at 70 and Thompson, 92 F.2d at 478). As
 noted above, those cases are inapplicable because they dealt with coercion in the con-
 text of a regulatory—rather than a spending—regime. See supra n.1. But to the extent
 Janssen relies on those cases as supporting its NFIB-style “coercion” argument, that
 argument fails for all the reasons discussed in this section.

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 need to protect “the status of the States as independent sovereigns in our federal sys-
 tem”). That inquiry is derived exclusively from cases addressing how principles of fed-

 eralism limit Congress’s authority to attach funding conditions on grants to states. See
 id. at 579-81 (discussing, inter alia, South Dakota v. Dole, 483 U.S. 203 (1987)). In discuss-
  ing the “coercion” inquiry, the lead opinion did not cite to or discuss any other type of
  unconstitutional conditions case. See generally id. This absence is particularly noteworthy
  because—as Plaintiffs recognize—the unconstitutional conditions doctrine has been
 established for over a century. See BMS Resp. at 18 & n.5; Janssen Resp. at 17.

        Conversely, the Supreme Court has also not relied on NFIB’s “coercion” test
 when dealing with the broader doctrine of unconstitutional conditions in suits by pri-
 vate parties. The very next term after deciding NFIB, for instance, the Court decided
 Koontz, explaining that the unconstitutional conditions doctrine “vindicates the Consti-
 tution’s enumerated rights by preventing the government from coercing people into
 giving them up.” 570 U.S. at 604. It also decided Agency for International Development,
 which likewise analyzed unconstitutional conditions in the context of the government
 seeking “to leverage funding to regulate speech outside the contours of the program”
 at issue. 570 U.S. at 214-15. In neither of those decisions involving funding to private
 parties did the Court so much as cite NFIB, much less employ its analysis. See Koontz,
 570 U.S. at 604; Agency for Int’l Dev., 570 U.S. at 214. Similarly, the decision from last
 term in Cummings—which, as BMS notes, discussed the “voluntar[iness]” of Spending
 Clause legislation in the context of identifying remedies available to private parties—
 also did not cite NFIB. 596 U.S. at 219.



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         Plainly, the Supreme Court has not treated NFIB as establishing a generally ap-
 plicable unconstitutional-conditions standard. Contra BMS Resp. at 18; Janssen Resp.

 at 17. Plaintiffs’ argument to the contrary thus comes down to the observation that—
 like other unconstitutional conditions cases that NFIB did not reference—NFIB uses
 the term “coercion.” See id. But Plaintiffs fail to cite any authority to support their
 assertion that this “overlap” in terminology makes different constitutional tests and
 standards interchangeable. See id. Using similar words does not make analytically dis-
 parate cases the same. See, e.g., Turkiye Halk Bankasi A.S. v. United States, 598 U.S. 264,

 278 (2023) (“This Court has often admonished that ‘general language in judicial opin-
 ions’ should be read ‘as referring in context to circumstances similar to the circum-
 stances then before the Court and not referring to quite different circumstances that
 the Court was not then considering.’” (quoting Illinois v. Lidster, 540 U.S. 419, 424
 (2004))). And Plaintiffs do not even acknowledge the authority Defendants cited rec-
 ognizing that NFIB is limited to the unique context of federalism. See, e.g., Northport
  Health Servs. of Ark., LLC v. HHS, 14 F.4th 856, 869 n.5 (8th Cir. 2021) (explaining that
  NFIB “coercion” inquiry “describe[s] the federal government’s limited constitutional
  authority under the Spending Clause to regulate the states, not a federal agency’s ability
  to regulate [private] facilities’ use of federal funding”), cert. denied, 143 S. Ct. 294 (2022);
  see also Northport Health Servs. of Ark., LLC v. HHS, 438 F. Supp. 3d 956, 970-71 (W.D.
  Ark. 2020) (“No part of the Court’s decision in NFIB touched on the government’s
  power to place conditions on private entities.”). 6
         6
          Plaintiffs have, however, dropped reliance on the Third Circuit decision in Doe
 v. University of Sciences, 961 F.3d 203, 213 (3d Cir. 2020), which they invoked in their


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         2.     Similarly, Plaintiffs’ suggestion that NFIB’s “coercion” inquiry can reach
 the federal government’s purchases of goods or services is a radical concept that does

  not track NFIB’s language or logic and is unsupported by other precedent.
         The animating principle of NFIB—which Plaintiffs disregard in their response—
  was that the government should not be able to use its Spending Clause powers to end-
  run restrictions on its ability to regulate. 567 U.S. at 580-81. But the Supreme Court has
  “long held the view that there is a crucial difference, with respect to constitutional anal-
  ysis, between the government exercising ‘the power to regulate or license, as lawmaker,’

  and the government acting ‘as proprietor.’” Engquist v. Oregon Dep’t of Agric., 553 U.S.
  591, 598 (2008) (quoting Cafeteria & Restaurant Workers v. McElroy, 367 U.S. 886, 896
  (1961)). When the government acts in the latter capacity, constitutional review “‘must
  rest on different principles than review of . . . restraints imposed by the government as
  sovereign.’” Id. at 599 (quoting Waters v. Churchill, 511 U.S. 661, at 674 (1994)); see also
  Waters, 511 U.S. at 671 (“[T]he government as employer . . . has far broader powers
  than does the government as sovereign.”). For this reason, courts do not superintend
  government contracting decisions to ensure that the compensation contractors agree to
  accept reflects “fair market value” for their products. As the Supreme Court has con-
  firmed across a range of different constitutional contexts, “[w]here the government is
  acting as a proprietor, managing its internal operations, rather than acting as lawmaker
  with the power to regulate or license, its action will not be subjected to the heightened
  review to which its actions as a lawmaker may be subject.” Int’l Soc’y for Krishna


 opening brief. As Defendants explained, that decision does not bear the weight that
 Plaintiffs sought to put on it.

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 Consciousness, Inc. v. Lee, 505 U.S. 672, 678 (1992) (emphasis added); see also Waters, 511
 U.S. at 675 (the “government’s interest in achieving its goals as effectively and efficiently

 as possible is elevated from a relatively subordinate interest when it acts as sovereign to
 a significant one when it acts as employer”); Ridley v. Mass. Bay Transp. Auth., 390 F.3d
 65, 79 (1st Cir. 2004) (“[A] lower level of scrutiny usually applies when the government
 acts as proprietor.”). Of course, “the Government unquestionably is the proprietor of
 its own funds, [so] when it acts to ensure the most effective use of those funds, it is
 acting in a proprietary capacity.” Bldg. & Const. Trades Dep’t, AFL-CIO v. Allbaugh, 295

 F.3d 28, 35 (D.C. Cir. 2002).
        The same principle animates cases Defendants cited in their opening brief deal-
 ing with the difference between states acting as regulators as opposed to purchasers.
 See Chamber of Com. of U.S. v. Brown, 554 U.S. 60, 70-71 (2008) (distinguishing between
 government acting “as a regulator rather than a market participant”); see also Bldg. &
 Const. Trades Council of Metro. Dist. v. Associated Builders & Contractors of Mass./R.I., Inc.,
 507 U.S. 218, 229 (1993) (discussing the “conceptual distinction between regulator and
 purchaser”); Associated Builders & Contractors Inc. N.J. Chapter v. City of Jersey City, 836 F.3d
 412, 417-18 (3d Cir. 2016). In seeking to distinguish those decisions, BMS Resp. at 19,
 Plaintiffs miss the underlying point that governments, be they state or federal, are sub-
 ject to different constitutional constraints when they act as market participants. See, e.g.,
 Allbaugh, 295 F.3d at 36 (“[C]ondition that the Government imposes in awarding a con-
 tract or in funding a project is regulatory only when . . . it ‘addresse[s] employer conduct
 unrelated to the employer’s performance of contractual obligations to the [Govern-
 ment].’” (quoting Bldg. & Const. Trades Council, 507 U.S. at 228-29)).

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        Contrary to Plaintiffs’ suggestion, these distinctions do not vanish merely be-
 cause the government can also regulate the relevant market (in often-unrelated ways).

 Janssen Resp. at 21-23; BMS Resp. at 20. As the authority Defendants previously iden-
 tified makes clear—and as Plaintiffs fail to acknowledge—“the Supreme Court has ap-
 proved applying the market participant exception even when a State’s regulations are
 trained on the specific market in which it participates.” Brooks v. Vassar, 462 F.3d 341,
 358 (4th Cir. 2006); see Hughes v. Alexandria Scrap Corp., 426 U.S. 794, 797 (1976) (the
 State of Maryland not only participated in the automobile scrap market but also regu-

 lated it); see also Chance Mgmt., Inc. v. South Dakota, 97 F.3d 1107, 1113 (8th Cir. 1996)
  (finding that, despite South Dakota’s heavy regulation of the state lottery and all other
  forms of gambling, the State’s pervasive involvement in running the lottery was not
  “regulation of ‘the market,’” but rather was no more than “administering its own busi-
  ness”). The state can impose taxes or restrictions to “regulate[] the [] market,” and that
 “is not sufficient to preclude its status as a market participant.” Brooks, 462 F.3d at 358
 (state can regulate liquor market and be a participant).
        So too here. As Defendants detailed in their opening brief, Congress designed
 the Negotiation Program to achieve “[e]fficient and equitable procurement” of high-
 cost prescription drugs. Defs.’ MSJ Br. at 21-22. These steps to limit government
 outlay on selected drugs constitute a valid exercise of Congress’s power to control fed-
 eral spending—and reflect Congress’s view that the “general Welfare” is best served by
 reducing expenditure on certain high-cost pharmaceuticals. U.S. Const., art. I, § 8, cl.
 1; cf. Sabri v. United States, 541 U.S. 600, 608 (2004) (“The power to keep a watchful eye
 on expenditures . . . is bound up with congressional authority to spend in the first

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 place.”). And the mere fact that antitrust laws may restrict private entities from enacting
 similar pricing controls does not mean that the imposition of such controls is regulation

 in a constitutional sense. Contra BMS Resp. at 20; Janssen Resp. at 23.
         Simply put, NFIB’s “coercion” test has no place in the procurement (rather than
 regulatory) context of the Negotiation Program—and Plaintiffs offer no reasoned basis
 to apply it here.
         3.     A sure sign of a problem with Plaintiffs’ “coercion” theory is its logical
  implications. According to Plaintiffs, the Negotiation Program is “coercive” because

  the most straightforward way to avoid it is to forgo Medicare and Medicaid participation
  generally—which, Plaintiffs claim, “ransoms those separate funds.” BMS Resp. at 21.
  But the same argument could be said about numerous Medicare and Medicaid condi-
  tions that have long been understood as permissible.
         For example, Congress has long required drug manufacturers wishing to partici-
  pate in Medicaid to enter into agreements with the Secretary of Veterans Affairs, which
  make their covered drugs available for procurement by the Department of Veterans
  Affairs and other agencies at or below statutory ceiling prices. See 38 U.S.C. § 8126(a)-
  (h). Similarly, Congress routinely requires that parties accepting Medicare and Medicaid
  funding observe conditions that reach beyond the specific products or services that
  Medicare reimburses. See, e.g., Astra USA, Inc. v. Santa Clara Cnty., 563 U.S. 110, 113-16
  (2011) (describing requirements under 42 U.S.C. § 1396r-8(a)(1), which conditions par-
  ticipation in the Medicaid Drug Rebate Program on participation in the 340B program,
  through which participating drug manufacturers must give discounts to various catego-
  ries of private purchasers); see also Baker Cnty., 763 F.3d at 1277-78 (noting that, “[a]s a

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 condition of participating in and receiving payments from Medicare, a hospital must
 also opt into EMTALA,” which generally “requires participating hospitals to provide

 care to anyone who visits an emergency room”). Plaintiffs’ argument would, perforce,
 declare all of those programs coercive—something no court has previously found. See,
 e.g., Sanofi-Aventis U.S., LLC v. HHS, 570 F. Supp. 3d 129, 209-10 (D.N.J. 2021), rev’d in
 part on other grounds, 58 F.4th 696 (3d Cir. 2023).
        And that’s not all. Even more fundamentally, hospitals, nursing homes, and
 other entities are not eligible for Medicare reimbursement for any one service unless

 they sign a participation agreement acknowledging their acceptance of the prescribed
 rates for all of their services that are reimbursable by Medicare. 42 U.S.C. § 1395cc; see
 also id. § 1395a(b). These participation agreements require the provider to comply with
 a series of conditions of participation.          See, e.g., 42 U.S.C. §§ 1395cc(b)(2)(B),
 1395x(e)(9); 42 C.F.R. §§ 482.1-482.104 (part 482, providing “[c]onditions of [p]artici-
 pation for [h]ospitals”). These include numerous requirements concerning hospital
 “[a]dministration” and operation, 42 C.F.R. §§ 482.11-482.15; basic hospital functions,
 such as staffing and various types of diagnostic and care procedures, id. §§ 482.22-
 482.23, 482.26; and various aspects of “pharmaceutical services,” id. § 482.25. Many of
 these conditions are not limited to providers’ interaction with Medicare beneficiaries,
 but instead apply to the providers generally. See, e.g., id. § 482.12 (requiring hospitals
 have “effective governing body”); id. § 482.21 (requiring hospitals to “maintain an ef-
 fective, ongoing, hospital-wide, data-driven quality assessment and performance im-
 provement program”); see generally id. § 482.22-482.45 (requiring numerous hospital
 functions); see also Cummings, 596 U.S. at 217-18 (noting that Congress prohibits

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 “discriminat[ion] . . . on certain protected grounds” “by healthcare entities” receiving
 federal funds). And the consequence of declining to accept any condition—including

 any new condition that CMS determines is necessary—is potential loss of reimburse-
 ment for all services, even unrelated ones.
        Under Plaintiffs’ theory, an array of run-of-the-mill conditions could therefore
 be said to “ransom [] separate funds to coerce a distinct transaction involving [] differ-
 ent” populations or services. BMS Resp. at 21; see also id. (arguing that conditions can
 be coercive if they do not “‘place[] a direct restriction on how a [recipient] uses [the]

 federal funds’” (quoting Gruver v. La. Bd. of Supervisors, 959 F.3d 178, 183 (5th Cir. 2020)).
 Thus, a hospital could complain that its failure to satisfy conditions related to pharmacy
 services should not deprive it of Medicare reimbursement for surgery or radiology ser-
 vices, because the “condition . . . has nothing to do with the funds being held hostage.”
 BMS Resp. at 20. Other examples abound. In Plaintiffs’ world, Medicare and Medicaid
  would turn into a veritable grab-bag of conditions from which providers could pick and
  choose as their business interests required. That would amount to a fundamental re-
 structuring of how federal health care programs work.
        Nor would the problems stop there. As the Supreme Court has noted, “[p]ur-
  suant to its authority to ‘fix the terms on which it shall disburse federal money,’ . . .
  Congress has enacted four statutes prohibiting recipients of federal financial assistance
  from discriminating based on certain protected grounds.” Cummings, 596 U.S. at 217-
  18 (citation omitted). 7 Congress has separately authorized the President to prescribe
        7
          These include (1) Title VI of the Civil Rights Act of 1964, which forbids race,
 color, and national origin discrimination in federally funded programs or activities, 42


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 policies that he deems necessary to promote economy or efficiency in federal procure-
 ment. 40 U.S.C. §§ 101 et seq. In Plaintiffs’ construction, these conditions are all po-

 tentially constitutionally vulnerable under the NFIB “coercion” framework—and enti-
 ties ranging from educational institutions to defense contractors can claim a constitu-
 tional right to take government money while refusing to comply with the accompanying
 obligations.
        Fortunately, the Supreme Court has recently made clear that it does not share
 Plaintiffs’ maximalist reading of NFIB. As Defendants observed in their opening brief,

  the Court granted a stay of an injunction against a COVID-19 vaccine mandate that
  CMS had imposed for workers at federally funded healthcare facilities. Missouri, 595
  U.S. at 94. In doing so, the Court observed “the longstanding practice” of Congress
  and CMS, under which “healthcare facilities that wish to participate in Medicare and
  Medicaid have always been obligated to satisfy a host of conditions that address the safe
  and effective provision of healthcare”—conditions which function as a single package.
  Id. Notably, the Court did this even in the face of the challengers raising an NFIB
  “coercion” argument similar to the one Plaintiffs present here, in which they asserted
 that the condition improperly sought to leverage other federal funds. See Becerra v. Lou-
 isiana, Nos. 21A240, 21A241, Resp. to Stay App. at 27, 2021 WL 8939385 (Dec. 30,
 2021) (arguing that the vaccination “condition was impermissibly coercive because the

 U.S.C. § 2000d; (2) Title IX of the Education Amendments of 1972, which prohibits
 sex-based discrimination, 20 U.S.C. § 1681; (3) the Rehabilitation Act, which bars fund-
 ing recipients from discriminating because of disability, 29 U.S.C. § 794; and (4) the
 Affordable Care Act, which outlaws discrimination on any of the preceding grounds, in
 addition to age, by healthcare entities receiving federal funds, 42 U.S.C. § 18116. See
 Cummings, 596 U.S. at 218 (describing these restrictions).

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 consequence of opting out would be the loss of all Medicare and Medicaid funds” (em-
 phasis in original) (citing NFIB, 567 U.S. at 580-81)); Medicare and Medicaid Programs;

 Omnibus COVID-19 Health Care Staff Vaccination, 86 Fed. Reg. 61,555, 61,574 (Nov. 5,
 2021) (noting that “providers and suppliers that are cited for noncompliance may be
 subject to . . . termination of the Medicare/Medicaid provider agreement”).
        BMS misses this failed invocation of the NFIB “coercion” argument in Missouri.
 BMS Resp. at 19 (mistakenly denying that “anyone argue[d] that the condition failed”
 on NFIB grounds). But that is itself revealing. The theory was so misguided that not

 even the dissents acknowledged it, nor questioned Congress’s authority to condition
 federal funds on an entity satisfying all applicable rules. See generally Missouri, 595 U.S.
 at 98-104 (Thomas, J., dissenting); id. at 105-06 (Alito, J., dissenting).
        In short, there is no indication that, in deciding NFIB, the Supreme Court was
 transforming a federalism-specific “coercion” limitation into an omnibus framework
 governing how the federal government spends funds to purchase goods or services
 from the private sector. No court, to Defendants’ knowledge, has embraced such a
  reading. The Court in Chamber rejected it. See Dayton Area Chamber of Com. v. Becerra,
  No. 3:23-cv-156, Reply in Supp. of Mot. for Prelim. Inj., ECF No. 49 at 12-14 (S.D.
  Ohio Aug. 25, 2023) (arguing that the Negotiation Program was “coercive” in violation
  of NFIB). Plaintiffs offer no reason for this Court to chart a new course.

        C.     Plaintiffs Provide No Basis to Depart From Decades of Precedent
               Finding Medicare Conditions Voluntary
        Rejecting Plaintiffs’ reliance on NFIB and similarly inapposite regulatory-condi-
 tions cases leads to the conclusion the Chamber court correctly adopted: because the


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 Negotiation Program is merely a condition on voluntary Medicare and Medicaid partic-
 ipation, and can be freely avoided, it creates no constitutional violation. Chamber, 2023

 WL 6378423, at *11. Although Plaintiffs attempt to minimize that decision as dealing
 only with the due process claim at issue in that case, see, e.g., BMS at 26, they miss that
 the reason the court rejected that claim was because it applied the correct legal frame-
 work to conclude that the Program was “completely voluntary.” Chamber, 2023 WL
 6378423, at *11. Indeed, as the Chamber court recognized, this conclusion necessarily
 follows from the decades of “clear” precedent rejecting analogous Takings Clause chal-

 lenges to Medicare reimbursement rates. Id.
         Recognizing that those precedents stand in their way, Plaintiffs invite the Court
 to simply disregard all of it as limited or outdated. See BMS Resp. at 23-26; see also
 Janssen Resp. at 8. But, as explained above, Plaintiffs’ preferred constitutional tests do
 not reach the types of arrangements these cases address—indeed, the Supreme Court’s
 recent decision in Missouri refutes Plaintiffs’ claims that NFIB’s state-coercion inquiry
  applies in the Medicare context. Further, as Defendants observed in their opening brief,
  some of these cases postdate NFIB and Horne—and correctly find them inapplicable.
  See, e.g., Northport Health, 14 F.4th at 869 n.5; see also Se. Ark. Hospice, Inc. v. Burwell, 815
 F.3d 448, 450 (8th Cir. 2016) (discussing “voluntariness” of the “Medicare hospice pro-
 gram” and citing Horne, 576 U.S. at 366); Baker Cnty., 763 F.3d at 1280 (“Although the
 Hospital contends that opting out of Medicare would amount to a grave financial set-
 back, ‘economic hardship is not equivalent to legal compulsion . . . .’” (quoting Garelick,
 987 F.2d at 917)).



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        Nor are Plaintiffs’ efforts to distinguish some of these cases on their facts per-
 suasive. See BMS Resp. at 24-25. Plaintiffs assert that the cases dealt with “particular

 Medicare reimbursement rates,” rather than a supposed “mandate” to provide property
 to others. Id. at 24. Plaintiffs are, of course, wrong that the Negotiation Program
  “mandate[s]” them to provide any property to anyone. See infra Section II. But, in any
  event, the distinction Plaintiffs seek to draw is hollow. As Plaintiffs themselves recog-
  nize, the Negotiation Program establishes what the government will ultimately reim-
  burse for certain high-cost pharmaceuticals—placing Plaintiffs’ challenge on all fours

 with the cases they seek to distinguish. See BMS Resp. at 24-25.
        Further, even a cursory review of the various cases Defendants cited in their
 opening brief reveals that courts reject challenges to reimbursement rates not because
 of anything specific to those rates or how they operate—but rather because those rates
 are part of voluntary programs that do not compel participation in the first instance. See,
 e.g., Garelick, 987 F.2d at 917 (“All court decisions of which we are aware that have
 considered takings challenges by physicians to Medicare price regulations have rejected
 them in the recognition that participation in Medicare is voluntary.”); Se. Ark. Hospice,
 815 F.3d at 450 (“SEARK voluntarily chose to participate in the Medicare hospice pro-
 gram [and] ‘[t]his voluntariness forecloses the possibility that the statute could result in
 an imposed taking of private property.’” (quoting Minn. Ass’n of Health Care Facilities, Inc.
 v. Minn. Dep’t of Pub. Welfare, 742 F.2d 442, 446 (8th Cir. 1984))); see also Baker Cnty., 763
 F.3d at 1279 (“Just as physicians who voluntarily treat Medicare beneficiaries cannot
 establish the legal compulsion necessary to challenge Medicare reimbursement rates as



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 a taking, so too is the Hospital precluded from challenging the rate at which it is com-
 pensated for its voluntary treatment of federal detainees.”).

        Plaintiffs’ efforts to evade these cases—and the Negotiation Program gener-
 ally—ultimately reduce to their claims that a condition cannot be voluntary if their busi-
 ness model makes it financially impractical for them to withdraw from Medicare. BMS
 Resp. at 25; Janssen Resp. at 10. But courts have considered, and rejected, such claims
 of involuntariness even where “business realities” create “strong financial inducement
 to participate”—such as, for example, when Medicaid provides the vast majority of a

 nursing home’s revenue. Minn. Ass’n of Health Care Facilities, 742 F.2d at 446. As the
 Chamber court recognized, “participation in Medicare, no matter how vital it may be to
 a business model, is a completely voluntary choice.” 2023 WL 6378423, at *11 (dis-
 cussing cases); see also Baker Cnty., 763 F.3d at 1280. Plaintiffs offer no principled reason
 why the same conclusion does not hold here.
                                       *      *       *
        In the end, Plaintiffs’ arguments are nothing more than the latest iteration of a
 familiar playbook employed for decades by hospitals, nursing homes, and other provid-
 ers who have claimed that limits on Medicare reimbursements take their property.
 Courts have, for decades, rejected such arguments on the ground that participation in
 Medicare is fully voluntary. See, e.g., Baker Cnty., 763 F.3d at 1276, 1279-80 (collecting
 cases); Garelick, 987 F.2d at 916. This Court should follow the lead of the court in
 Chamber and do the same.




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 II.     PLAINTIFFS’ PHYSICAL TAKINGS ARGUMENTS WOULD FAIL IN ANY EVENT
         The absence of legal compulsion is not the only reason Plaintiffs’ taking theory

 fails. As Plaintiffs’ response confirms, they do not claim that the Negotiation Program
 is “so onerous that its effect is tantamount to a direct appropriation”—i.e., a “regulatory
 taking.” Lingle, 544 U.S. at 537 (emphasis added). Rather, Plaintiffs’ only Takings
 Clause argument is that the Negotiation Program effects a direct “physical taking” be-
 cause it “order[s]” manufacturers “to provide property [to] . . . Medicare beneficiaries.”
 BMS Resp. at 4-5. Plaintiffs’ reading of the IRA as creating an “obligation to transfer”

 drugs is thus the linchpin of their taking theory. Id. at 4 (emphasis in original); see also
  Janssen Resp. at 3-4, 25 (arguing that “the IRA obligates Janssen to give third parties
  access to its drugs”). But it is demonstrably wrong.
         1.     Start with the plain text of the statute: that language demonstrates that
  Congress did not compel manufacturers to sell any drugs in the first instance. As De-
  fendants detailed in their opening brief, manufacturers participating in the Negotiation
  Program merely undertake an obligation “to provide access to such price” as they may
  negotiate with CMS (which the statute defines as the “maximum fair price” or “MFP”).
  42 U.S.C. § 1320f-2(a)(1), (3) (emphasis added); see also id. § 1320f-6(a) (defining a “[v]io-
  lation[]” of the agreement as “not provid[ing] access to a price that is equal to or less
  than the maximum fair price”). In fact, all uses of the word “access” in the IRA describe
  “access to . . . price.” See id. §§ 1320f-2(a), (d), 1320f-6(a). Not a single provision uses
  the phrase “access to drugs” or an equivalent. See generally id. These drafting choices
  are not mere “wordplay.” BMS Resp. at 5. If Congress wanted to mandate physical
  access to drugs, it would have done so, as it did for copyrighted materials in Valancourt.

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 It pointedly did not. “Given this clear language, it would be improper to conclude that
 what Congress omitted from the statute is nevertheless within its scope;” after all, “Con-

 gress’s choice of words is presumed to be deliberate.” Univ. of Texas Sw. Med. Ctr. v.
 Nassar, 570 U.S. 338, 353 (2013).
         CMS’s Revised Guidance confirms what is evident from the plain language of
 the statute. As CMS detailed, the statutory language means manufacturers that agree to
 a negotiated price for a selected drug “must provide access to the MFP” for Medicare
 beneficiaries by either “prospectively ensuring that the price paid by the dispensing entity

 when acquiring the drug is no greater than the MFP,” or reimbursing “the difference
 between the dispensing entity’s acquisition cost and the MFP” for relevant sales. Re-
  vised Guidance at 125-26 (emphasis added). Consistent with the IRA, CMS’s guidance
  explains the mechanisms the agency will establish to ensure that manufacturers comply
  with the MFP requirements. See generally Revised Guidance at 125-129 (sections 40.4
  and 40.5), 171-72 (discussing what happens if manufacturer fails “to ensure access to a
  price less than or equal to the MFP”). Absent from that Guidance—and from the IRA
  generally—is any mention of a mechanism to force manufacturers to actually make sales
  of any drug, or any suggestion that failure to make a sale constitutes a violation. See id.
  at 172-73 (listing “[e]xample of [s]ubstantive [v]iolation”); see also 42 U.S.C. § 1320f-6(a)
  (defining violation of an agreement).
         The upshot, to borrow BMS’s phrasing, is that if, “after signing the agreement
  with CMS, BMS were to refuse to transfer Eliquis to Medicare” at all, that would not be
  prohibited by the IRA. BMS Resp. at 5. Plaintiffs cite no provision of the IRA that
  “force[s] sales” of manufacturers’ drugs against their will. Id. at 4. And, in the absence

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 of such compulsion, Plaintiffs’ physical taking theory collapses. See, e.g., Cedar Point, 141
 S. Ct. at 2072 (“The essential question is . . . whether the government has physically

 taken property for itself or someone else—by whatever means—or has instead re-
  stricted a property owner’s ability to use his own property.”). A limit on the price that
  manufacturers may charge for drugs sold to Medicare may (or may not) ultimately have
  an “economic impact” on manufacturers—but it falls on the other side of the “settled
 difference in [] takings jurisprudence between appropriation and regulation,” and thus
 gives rise to no “physical taking” concerns. Horne, 576 U.S. at 362.

        2.     Unable to accept this result, Plaintiffs grasp for attenuated signs that the
  statute works differently from how Congress drafted it and how CMS intends to imple-
  ment it. BMS Resp. at 5-6. This effort fails at the outset in a facial challenge, where
 Plaintiffs bear the heavy burden of establishing “‘that no set of circumstances exists
 under which the Act would be valid,’ i.e., that the law is unconstitutional in all of its
 applications.” Wash. State Grange v. Wash. State Republican Party, 552 U.S. 442, 449 (2008)
 (quoting United States v. Salerno, 481 U.S. 739, 745 (1987)) (emphasis added). And it is
 unpersuasive in any event.
        For example, BMS cites to a provision regulating when insurance plans contract-
 ing with Medicare must include the selected Part D drugs as part of their formulary—
 that is, as part of the coverage they provide. See 42 U.S.C. § 1395w-104(b)(3)(I). As
 noted above, that provision is actually designed as a potential benefit to manufacturers:
 that is, a manufacturer is guaranteed formulary inclusion by all Medicare Part D plans
 for its selected drug in exchange for reaching an agreement with CMS as to the maxi-
 mum fair price for the drug. Id. § 1395w-104(b)(3)(I)(i). And, contrary to Plaintiffs’

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 assertion, that statutory provision does not require manufacturers to make sales—it
 merely states that insurance providers shall cover the drugs that manufacturers do, in

 fact, agree to sell. See id. 8 That point is crystallized in CMS’s Revised Guidance, where
 CMS addressed concerns that Part D plans may attempt to “steer Part D beneficiaries
 away from selected drugs in favor of non-selected drugs that may be associated with
 higher rebates.” Revised Guidance at 84-85. As CMS explained, it will “use its formu-
 lary review process to assess” whether Part D plans are improperly disadvantaging se-
 lected drugs in their coverage policies. Id. at 85. Nothing about that review process or

 the formulary structure generally contemplates CMS reviewing whether a manufacturer
 has failed to make enough sales of a drug. See generally id. at 84-85.
        Nor is BMS correct to claim that the excise tax provisions of section 5000D
 provide grounds for inferring that the IRA compels sales. See BMS Resp. at 6. As
 Defendants explained in their opening brief, Defs.’ MSJ Br. at 16-17, section 5000D
 suspends taxes on applicable sales of a designated drug to Medicare beneficiaries if a
 manufacturer stops participating in Medicare and Medicaid. See 26 U.S.C. § 5000D(c);
 IRS Notice No. 2023-52, 2023-35 I.R.B. 650 (Aug. 4, 2023), https://perma.cc/B9JZ-
 ZG7P (addressing interpretation of 26 U.S.C. § 5000D) (IRS Notice). BMS asserts that

 this suspension makes no sense if manufacturers can just avoid the tax by not selling
 the selected drug in the first place—something BMS suggests would be a more

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           Plaintiffs also misunderstand the operation of this provision. Although they
 contend that all selected drugs must be included on Part D formularies, BMS Resp. at
 5, this obligation is imposed on Part D plans only if the manufacturer and CMS have
 agreed to a negotiated price for the selected drug. See 42 U.S.C. § 1395w-104(b)(3)(I)(i)
 (plan “shall include each covered part D drug that is a selected drug . . . for which a
 maximum fair price . . . is in effect with respect to the year”).

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 economical option than exiting all of Medicare and Medicaid. 9 But that’s just the point:
 manufacturers have numerous options for exiting or avoiding the Negotiation Program.

 See Defs.’ MSJ Br. at 16-18. Some manufacturers may find one option more economi-
 cally or logistically attractive. Yet the availability of multiple options, even potentially
 overlapping ones, cannot be taken as sub silentio enactment of something that exists
  nowhere else in the U.S. Code: a mandate to sell drugs that manufacturers do not wish
 to sell. This Court may not infer such a requirement in the absence of clear statutory
 language. See, e.g., United States v. Bingert, 605 F. Supp. 3d 111, 127 (D.D.C. 2022) (“Tex-

 tual redundancies that are ‘subtle or pitted against otherwise plain meanings’ are ‘feeble
 interpretive tools.’” (quoting Mercy Hosp., Inc. v. Azar, 891 F.3d 1062, 1068 (D.C. Cir.
 2018))).
        Disposing of these sign-readings leaves Plaintiffs’ passing suggestion that De-
 fendants’ filings have somehow “concede[d]” the surprising interpretation that Plain-
 tiffs now offer. BMS Resp. at 5; see also Janssen Resp. at 26. Defendants did nothing
  of the kind: an accurate account of the statements Plaintiffs quote and the context in
  which they appear confirms that Defendants have never departed from the statutory

        9
          Plaintiffs separately dispute whether the taxes apply to all sales, or only sales
 to Medicare. Janssen Resp. at 15; BMS Resp. at 6 n.1. That challenge is not properly
 presented in this case because Plaintiffs are not contesting the constitutionality of the
 tax provision or the IRS Notice—a challenge over which this Court would lack subject-
 matter judgment given that (1) Plaintiffs have not named Treasury or the IRS as a De-
 fendant, (2) the IRS interpretation operates to Plaintiffs’ benefit, and (3) the Anti-In-
 junction Act bars such challenges prior to collection of the tax. See generally 26 U.S.C.
 § 7421(a). But even under Plaintiffs’ reading of the tax provision, there would still be
 no indication that the statute compels sales of the selected drug to Medicare. Even if
 the tax applied to every sale of the designated drug, a manufacturer would still not be
 compelled to sell the drug to anyone, and could plausibly incur a tax liability of zero.

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 language. See Defs.’ MSJ Br. at 27, 34; see also IRS Notice at 2 (stating that manufacturers
 “agree[ing] to an MFP commit to provide access to selected drugs at the negotiated prices”

 (emphasis added)). And it hardly needs saying that Defendants cannot amend the U.S.
 Code through a litigation brief.
        3.     Finally, Plaintiffs still fail to rebut Defendants’ observation that, even if

 Congress had forced manufacturers to sell their drugs, that would, at most, place those
 companies within the framework applied to public utilities. See BMS Resp. at 7-8;
 Janssen Resp. at 26-27. Indeed, Janssen itself observes that the utility framework is

 applicable only when the property is “‘partly public, partly private’”—and that would be
 exactly the case if Congress ordered manufacturers to sell their products.10 Janssen Resp.
 at 27 (quoting Duquesne Light Co. v. Barasch, 488 U.S. 299, 307 (1989) (emphasis re-

 moved)). Yet, as Defendants observed, utility rate-setting has never been treated as a
 per se or physical taking. See, e.g., Verizon Commc’ns, Inc. v. FCC, 535 U.S. 467, 524-27
 (2002); see also Duquesne Light, 488 U.S. at 307-15 (discussing evolution of takings juris-

 prudence with respect to public utilities). Rather, the Supreme Court has made clear
 that those takings challenges must follow the course for any traditional regulatory tak-
 ing—meaning that they must proceed in an as-applied rather than a facial challenge. See

 Verizon, 535 U.S. at 525 (“[T]he general rule is that any question about the constitution-
 ality of rate-setting is raised by rates, not methods.”).


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           Janssen’s observation that it is not a public utility—and that not “a single case”
 has classified drug manufacturers as public utilities—thus completely misses the point.
 Janssen Resp. at 27. The reason for that is precisely because manufacturers are not
 ordered to sell their drugs. If they were compelled to make those sales—as both Plain-
 tiffs seem to believe—they would stand on roughly equal footing with utilities.

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        Plaintiffs attempt to side-step these issues by claiming that the Negotiation Pro-
 gram prices “necessarily do not provide market value.” BMS Resp. at 7. That is incorrect,

 at least as a categorical matter.11 And it is irrelevant in two separate respects. First, in
 the utility rate-setting context, courts do not look to market price as a measure of a
 taking. See, e.g., Duquesne Light, 488 U.S. at 308 (noting that the analysis of what is “just

 compensation . . . ‘and what are the necessary elements in such an inquiry,’” is a difficult
 question (citation omitted)). Rather, courts look to various factors related to invest-
 ment-backed expectations—which depend on case- and plaintiff-specific factors that

 are inimical to a facial challenge, and which Plaintiffs do not even try to establish here.
 See, e.g., Verizon, 535 U.S. at 524-27 (explaining the need to conduct a fact-intensive
 inquiry). Second, Plaintiffs’ objection still fails to overcome the basic fact that utility

 rate-limits are not seen as physical takings because they do not deprive utilities of the
 whole “bundle” of rights that are lost when the government physically seizes or invades
 property. See, e.g., Horne, 576 U.S. at 361; Verizon, 535 U.S. at 524-25. So too here. In

 the absence of any obligation to surrender actual drugs, the Negotiation Program is, at

        11
             As to the Plaintiffs’ particular presentation of this claim, the reason is some-
 what technical, but it comes down to the fact that the IRA specifies two possible for-
 mulas by which CMS is required to determine a ceiling price—and one of those formu-
 las uses a percentage of the “non-Federal average manufacturer price.” 42 U.S.C.
 § 1320f-3(c)(1)(C). That price, notably, “does not reflect rebates paid by the manufac-
 turer to third-party payers (such as insurance companies or [PBMs]),” and so it substan-
 tially overstates the net revenue that a manufacturer actually receives from a given drug
 today. Congressional Budget Office, A Comparison of Brand-Name Drug Prices Among Se-
 lected Federal Programs at 34 (Feb. 2021), https://perma.cc/BU23-U66U. Because Plain-
 tiffs’ drugs Xarelto and Eliquis are already heavily rebated, this calculation may exceed
 the net revenues Plaintiffs currently receive from those drugs. See Inmacula Hernandez,
 et al., Estimated Discounts Generated by Medicare Drug Negotiation in 2026, 29 J. Managed
 Care Spec. Pharm. 868, 870 (2023).

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 most, a form of price regulation—except that it is a regulation only of the price that the
 government pays. That is not a taking at all, and it is certainly not a physical taking. See,

 e.g., FCC v. Fla. Power Corp., 480 U.S. 245, 253 (1987) (“It is of course settled beyond
 dispute that regulation of rates chargeable from the employment of private property
 devoted to public uses is constitutionally permissible.”).

                                       *      *       *
         In their eagerness to challenge the IRA, Plaintiffs have disregarded the language
 of the statute and its context. But Plaintiffs’ desire to bend the IRA to match their legal
 theory does not make the statute constitutionally suspect. Even if the Negotiation Pro-
 gram were not fully voluntary—which it is—Plaintiffs’ takings challenge would run
 aground on the established difference between physical takings and economic regula-
 tion.

 III.    PLAINTIFFS’ FIRST AMENDMENT CHALLENGE LACKS MERIT
         Plaintiffs’ First Amendment arguments likewise repeat the same conceptual er-
 rors that animated their opening motion. In particular, Plaintiffs continue to assert that
 signing agreements with CMS is a form of expression that they are “compelled” to
 undertake. Janssen Resp. at 28; BMS Resp. at 27, 29. But that is not true.

         1.    As a starting point, Plaintiffs’ speculation about the secret “point” of the
 agreements—which they claim are designed to “conceal government mandates as vol-
 untarily assumed commitments”—fails to overcome the reality that the agreements are
 purely commercial arrangements. BMS Resp. at 34-35; see also Janssen Resp. at 28. As
 Defendants detailed in their opening brief, these agreements exist solely to memorialize



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 manufacturers’ voluntary undertaking of a commitment to participate in the Negotia-
 tion Program—and, ultimately, to charge Medicare beneficiaries no more than the ne-

 gotiated prices. See Revised Guidance at 118-20.
        Health care providers and other entities execute similar agreements to memori-
 alize their acceptance of the terms for participation across a range of federal health care
 programs. See, e.g., 42 U.S.C. §§ 1395cc, 1396r-8(b), (c), 1395w-102(b)(1). For example,
 the Medicare Participating Physician or Supplier Agreement uses the word “agreement”
 29 times to indicate that the parties are entering a commercial arrangement and share a

 common understanding of their obligations. See CMS, Medicare Participating Physician
 or Supplier Agreement (CMS-460), https://perma.cc/WG64-ZNPL.                   Contrary to
 Plaintiffs’ insistence, such agreements are “not directed at the communication of infor-
 mation” at all, and any conduct restriction “is imposed ‘for reasons unrelated to the
 communication of ideas.’” Nicopure Labs, LLC v. FDA, 944 F.3d 267, 291 (D.C. Cir.
 2019) (quoting Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 569 (2001)). Any speech
 implicated by the execution of the agreement “is plainly incidental to the . . . regulation
 of conduct” that the agreements govern: namely, the establishment of future prices
 that the government will pay for drugs. Rumsfield v. Forum for Acad. & Institutional Rts.,
 Inc. (FAIR), 547 U.S. 47, 62 (2006); see also Expressions Hair Design v. Schneiderman, 581
 U.S. 37, 47 (2017) (a “law’s effect on speech [that is] only incidental to its primary effect
 on conduct” does not draw First Amendment scrutiny). Such arrangements do “not

 implicate the First Amendment” at all. Nicopure, 944 F.3d at 291; see also Sorrell v. IMS
 Health Inc., 564 U.S. 552, 567 (2011) (“[T]he First Amendment does not prevent



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 restrictions directed at commerce or conduct from imposing incidental burdens on
 speech.”).

        Notably, Plaintiffs do not even acknowledge that the agreements they protest
 have any commercial purpose. See generally BMS Resp. at 29-30, 32-34; Janssen Resp. at
 28-31. Instead, pointing to media reports and press statements, Plaintiffs continue to
 argue that Congress’s use of terms like “negotiation[]” “agreement” and “maximum fair
 price”—which Congress employed as statutory terms of art—compels manufacturers
 to endorse colloquial understandings of the words and phrases. BMS Resp. at 33-35;

 Janssen Resp. at 30-31. Of course, CMS’s agreement includes an explicit disclaimer to
 the contrary—precisely to avoid the kind of misunderstanding Plaintiffs seem intent on
 making. Contrary to Plaintiffs’ cramped reading, the point of that disclaimer is not to
 “cure[]” some defect by “disclaim[ing]” the otherwise expressive content of the agree-
 ment. BMS Resp. at 36; see also Janssen Resp. at 33-34. Rather, the point is to highlight
  the obvious fact that the terms of the agreement are used solely as statutory terms of
  art, not as forms of colloquial expression about what is “fair.”
        But even absent the disclaimer, Plaintiffs’ reasoning is supported by neither law
 nor logic. In no case that Plaintiffs identify did a court find that the words of a contract
 are expressive merely because they were written and could be incorrectly understood as
 conveying a message. See BMS Resp. at 33-34; Janssen Resp. at 31-33. Rather, the
 Supreme Court has found an abridgement of expression where regulations target
 speech directly.
        Thus, for example, in Expressions Hair Design, the Court found the First Amend-
 ment implicated by a law that did not regulate “the amount [merchants] are allowed to

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 collect from a cash or credit card payer” but instead directly targeted “how sellers may
 communicate their prices.” 581 U.S. at 47 (emphasis added). Similarly, in Sorrell, the Court

 found that the prohibition on the sale of doctors’ prescribing information violated the
 First Amendment because it “impose[d] a burden based on the content of speech and
 the identity of the speaker.” 564 U.S. at 567. But here, the only thing being regulated
 are the actual prices, not anyone’s speech: the words used in the agreements are merely
  a means by which the regulation is given effect. These types of commercial arrange-
  ments in the service of “ordinary price regulation do[] not implicate constitutionally

 protected speech.” Nicopure, 944 F.3d at 292 (citing Expressions Hair Design, 581 U.S. at
 47); see also Nat’l Ass’n of Tobacco Outlets, Inc. v. City of Providence, 731 F.3d 71, 77 (1st Cir.
 2013) (“[P]rice regulations and other forms of direct economic regulation do not impli-
 cate First Amendment concerns.”). As the Supreme Court has emphasized, “‘it has
 never been deemed an abridgment of freedom of speech or press to’” regulate conduct
 “‘merely because the conduct was in part initiated, evidenced, or carried out by means
 of language, either spoken, written, or printed.’” Expressions Hair Design, 581 U.S. at 47
 (quoting FAIR, 547 U.S. at 62).
        The flaw in Plaintiffs’ argument is highlighted by their efforts to analogize man-
  ufacturers’ signatures on CMS agreements to voters’ signatures on political petitions.
  See BMS Resp. at 33 (citing John Doe No. 1 v. Reed, 561 U.S. 186, 195 (2010)). Plaintiffs
  assert that both types of signatures carry the same expressive content. Id. That would
  doubtlessly come as a surprise to the voters who sign petitions to engage in the core
  First Amendment activity of political advocacy, not to open a new bank account or pay
  for a car. See, e.g., Reed, 561 U.S. at 195 (noting that “the individual’s signature” on a

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 petition “expresses [a] political view”). Notwithstanding their assertions to the con-
 trary, Plaintiffs’ categorical claim that the commercial agreements between them and

 CMS convey a “message” is nothing more than an unsupported assertion that all con-
 tracts are necessarily expressive speech.
        By that logic, the Department of Defense would have to scrub every one of its
 contracts to ensure that those contracts do not use terms like “agree,” “fair,” or other
 terms that Plaintiffs view as objectionable. Cf. Cong. Resch. Serv., Defense Primer: Depart
 of Defense Contractors (Jan. 17, 2023), available at https://crsreports.congress.gov/prod-

 uct/pdf/IF/IF10600 (noting that in fiscal year 2021, “DOD obligated more money on
 federal contracts ($397 billion in current dollars) than the contract spending of all other
 government agencies combined”). That cannot be correct. After all, “the Supreme
 Court has long rejected the ‘view that an apparently limitless variety of conduct can be
 labeled ‘speech’” even when “‘the person engaging in the conduct intends thereby to
 express an idea.’” Nicopure, 944 F.3d at 291 (quoting United States v. O’Brien, 391 U.S.
 367, 376 (1968), citing Barnes v. Glen Theatre, Inc., 501 U.S. 560, 570 (1991)). And Plain-
 tiffs’ “extraordinary argument, if accepted, would extend First Amendment protection
 to every commercial transaction”—contrary to the current view of the law. Id. at 291.
        2.    Plaintiffs’ First Amendment concerns are all the more inapt given that
 participation in the Negotiation Program is a voluntary undertaking. See supra Section I.
 If manufacturers are truly concerned that their signing of an agreement to negotiate will
 be incorrectly perceived as their adoption of the government’s message, they can simply
 decline to participate in the program. In this way too, there is no compulsion for man-
 ufacturers to say—or to be perceived as saying—anything at all.

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         Contrary to Plaintiffs’ claims, viewing the Negotiation Program this way does
 not raise the specter of it being an unconstitutional condition. See Janssen Resp. at 38;

 BMS Resp. at 38-39. Even if the negotiation agreements raised First Amendment ques-
 tions—which they do not, for all the reasons above—Congress is free to attach “con-
 ditions that define the limits of the government spending program.” Agency for Int’l
 Dev., 570 U.S. at 214-15. Here, of course, the program that Plaintiffs protest is the
 negotiation of prices. See 42 U.S.C. § 1320f-3(a). So, signing something termed an “agree-
 ment” after the completion of that negotiation—and promising to give Medicare ben-

 eficiaries the benefit of the agreed-upon price—is nothing more than “the activit[y]
 Congress wants to subsidize.” Agency for Int’l Dev., 570 U.S. at 214-15; see also United
 States v. Am. Libr. Ass’n, 539 U.S. 194, 211 (2003) (“Within broad limits, ‘when the
  Government appropriates public funds to establish a program it is entitled to define the
  limits of that program.’” (quoting Rust v. Sullivan, 500 U.S. 173, 194 (1991)). No portion
  of the agreement that Plaintiffs protest (nor the IRA generally) purports to “regulate
  speech outside the contours of the [Negotiation] program” or places restrictions on the
  manufacturers themselves. Agency for Int’l Dev., 570 U.S. at 214-15; see also Rust, 500 U.S.
  at 197 (explaining that the Court’s “‘unconstitutional conditions’ cases involve situa-
  tions in which the Government has placed a condition on the recipient of the subsidy . . .
 thus effectively prohibiting the recipient from engaging in the protected conduct out-
 side the scope of the federally funded program”). As Plaintiffs do not deny, they are
 free to continue saying anything they want about the IRA, CMS, and the Negotiation
 Program—both in the course of negotiations and in public. So even if Plaintiffs were
 correct that the agreements are expressive, or that they “create the misimpression that

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 [manufacturers] consent[]” to the IRA, Plaintiffs would still be unable to establish that
 those agreements constitute an improper condition on the receipt of government funds.

 BMS Resp. at 40.
        Indeed, Plaintiffs’ objection to the agreements boils down to the claim that they
 dislike the Negotiation Program and do not want to be perceived as supporting it. See id.
 at 39-40. Put another way, Plaintiffs want to receive government money without the
 fear that some members of the public may conclude (plainly incorrectly) that Plaintiffs
 like how the government has made the money available. As a business model, this

 aspiration may be understandable. But “Congress is not required by the First Amend-
 ment to subsidize” Plaintiffs’ preferred messaging. Regan v. Tax’n With Representation of
 Wash., 461 U.S. 540, 546 (1983); see also Am. Libr. Ass’n, 539 U.S. at 212 (“‘A refusal to
 fund protected activity, without more, cannot be equated with the imposition of a “pen-
 alty” on that activity.’” (quoting Rust, 500 U.S. at 193)); see Regan, 461 U.S. at 546 (dis-
 missing “the notion that First Amendment rights are somehow not fully realized unless
 they are subsidized by the State.” (citation omitted)).
        Ultimately, if Plaintiffs fear that their publicity campaign against the IRA is in-
 sufficient, and fear that participating in the Negotiation Program puts them in conflict
 with their firmly held principles, they are free to withdraw from the program. See Cham-
 ber, 2023 WL 6378423, at *11. The IRA does not compel unwilling manufacturers to
 take—or be perceived as taking—the government’s funds.




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                                  CONCLUSION
       For these reasons, and those articulated in Defendants’ opening brief, the Court

 should deny Plaintiffs’ motion for summary judgment, grant Defendants’ cross-motion,
 and enter judgment for Defendants on all claims.



 Dated: December 22, 2023                  Respectfully submitted,


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